Case 14-71797-pwb      Doc 288    Filed 07/29/22 Entered 07/29/22 08:22:49              Desc Main
                                 Document      Page 1 of 5




   IT IS ORDERED as set forth below:



   Date: July 29, 2022
                                                      _________________________________

                                                                Paul W. Bonapfel
                                                          U.S. Bankruptcy Court Judge
  _______________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                            :      CHAPTER 7
                                                  :
HP/SUPERIOR, INC.                                 :      CASE NO. 14-71797 - PWB
                                                  :
         Debtor.                                  :
                                                  :

   ORDER APPROVING TRUSTEE’S FINAL REPORT AND APPLICATIONS FOR
 COMPENSATION AND REIMBURSEMENT OF EXPENSES OF THE TRUSTEE AND
                 PROFESSIONALS OF THE TRUSTEE

         On June 28, 2022, the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of

HP/Superior, Inc., filed applications for payment of compensation in the amount of $121,940.01

and expenses in the amount of $3,774.58 to the Chapter 7 Trustee [Doc. No. 284-1],

compensation in the amount of $115,000.00 and expenses in the amount of $878.96 to Arnall

Golden Gregory LLP, the Chapter 7 Trustee’s counsel [Doc. No. 284-2], and compensation in

the amount of $31,815.00 and expenses in the amount of $1,148.89 to Hays Financial

Consulting, LLC, the Chapter 7 Trustee’s accountants [Doc. No. 284-3] (collectively, the “Fee




18453072v1
Case 14-71797-pwb         Doc 288     Filed 07/29/22 Entered 07/29/22 08:22:49              Desc Main
                                     Document      Page 2 of 5



Applications”). In addition, in the Fee Applications, the applicants requested that the fee and

expense awards granted in the prior order of this Court [Doc. No. 241] (the “Interim Fee

Order”) be made final.

         Also on June 28, 2022, Trustee filed his Trustee’s Final Report (TFR) [Doc. No. 284]

(the “Trustee’s Final Report”) in which he proposed to make certain distributions to creditors,

including the above-mentioned professionals.

         On June 29 2022, Trustee filed two notices [Doc. Nos. 285 and 286] (collectively, the

“Notices”) regarding the Fee Applications and Trustee’s Final Report, in accordance with the

Second Amended and Restated General Order No. 24-2018 and setting the Fee Applications and

Trustee’s Final Report for hearing on August 11, 2022 (the “Hearing”).

         Trustee certifies that he served the Notices on all creditors and parties in interest entitled

to notice. [Doc. No. 287].

         No objection to the relief requested in the Fee Applications or Trustee’s Final Report was

filed prior to the objection deadline provided in the Notices and pursuant to the Second Amended

and Restated General Order No. 24-2018.

         The Court having considered the Fee Applications and Trustee’s Final Report along with

all other matters of record, including the lack of objection to the relief requested in the Fee

Applications and Trustee’s Final Report, and, based on the forgoing, finding that no further

notice or hearing is necessary; and, the Court having found that good cause exists to grant the

relief requested in the Fee Applications and Trustee’s Final Report, it is hereby

         ORDERED that the Fee Applications and Trustee’s Final Report are APPROVED and

this approval is made final. It is further




18453072v1
Case 14-71797-pwb        Doc 288     Filed 07/29/22 Entered 07/29/22 08:22:49       Desc Main
                                    Document      Page 3 of 5



         ORDERED that the fees and expenses requested are allowed as compensation and

reimbursement of expenses as follows:

                Applicant                  Docket      Fees      Expenses         Total
                                            No.
 S. Gregory Hays, Chapter 7 Trustee        284-1    $121,940.01 $3,774.58        $125,714.59
 Arnall Golden Gregory LLP,                284-2    $115,000.00   $878.96        $115,878.96
 attorneys for Chapter 7 Trustee
 Hays Financial Consulting, LLC,           284-3     $31,815.00 $1,148.89         $32,963.89
 accountants for Chapter 7 Trustee

It is further

         ORDERED that Trustee is authorized and directed to pay said compensation and

reimbursement of expenses approved herein based on available funds and as expressly set forth

in Trustee’s Final Report. It is further

         ORDERED that the prior fee and expense awards granted in the Interim Fee Order are

hereby made final.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:/s/ Michael J. Bargar
       Michael J. Bargar
       Georgia Bar No. 645709
       michael.bargar@agg.com
171 17th Street, NW, Suite 2100
Atlanta, GA 30363 / (404) 873-8500

Identification of parties to be served:

Office of the U.S. Trustee, 362 Richard B. Russell Federal Building, 75 Ted Turner Drive, SW,
Atlanta, GA 30303

S. Gregory Hays, Hays Financial Consulting, LLC, 2964 Peachtree Rd, NW, Suite 555, Atlanta,
GA 30305


18453072v1
Case 14-71797-pwb       Doc 288     Filed 07/29/22 Entered 07/29/22 08:22:49              Desc Main
                                   Document      Page 4 of 5




Ashley Reynolds Ray, Scroggins & Williamson One Riverside, Suite 450, 4401 Northside
Parkway, Atlanta, GA 30237

G. Frank Nason, IV, Lamberth, Cifelli, Ellis & Nason, P.A., 1117 Perimeter Center West, Suite W
212, Atlanta, GA 30338

HP/Superior, Inc., 5174 McGinnis Ferry Road, Suite 195, Alpharetta, GA 30005

Aaron Charles Brownell, US Department of Justice Tax Division, P.O. Box 14198, Washington,
DC 14198

Kevin A. Stine, Baker Donelson Bearman, Monarch Plaza, Suite 1600, 3414 Peachtree Road, NE,
Atlanta, GA 30326

Internal Revenue Service, Insolvency Unit, 01 West Peachtree Street, Stop 335-D, Atlanta, GA
30308

Department of Justice - Tax Division, Attn: Chief, Civil Trial Section, Southern Region, P.O. Box
14198, Ben Franklin Station, Washington, D.C. 20044

United States Attorney General, Main Justice Building, 10th and Constitution Avenue, NW,
Washington, D.C. 20530

U.S. Attorney, orthern District of Georgia, Civil Division, Attn: Civil Clerk, 600 Richard B. Russell
Building, 75 Spring Street, S.W., Atlanta, GA 30303

Lisa Johnson, Bankruptcy Specialist, Internal Revenue Service, 401 W Peachtree ST, NW, M/S
334-D, Atlanta, GA 30308

F. Mark Bromley, Wisconsin Dept. of Justice, 17 West Main Street, P. O. Box 7857, Madison, WI
53707-7857

Wisconsin Department of Revenue, Special Procedures Unit, PO Box 8901, Madison, WI 53708-
8901

Hiram Cutting, Wisconsin Department of Revenue, Special Procedures Unit, PO Box 8901,
Madison, WI 53708-8901

The Stark Collection Agency Inc., PO Box 45710, Madison, WI 53744-5710

The Stark Collection Agency, 6425 Odana RD Suite 22, PO Box 45710, Madison, WI 53744-5710

State of Wisconsin, DWD – UI, PO Box 8914, Madison, WI 53708

Ariane Daniels, State of Wisconsin, DWD – UI, PO Box 8914, Madison, WI 53708



18453072v1
Case 14-71797-pwb      Doc 288    Filed 07/29/22 Entered 07/29/22 08:22:49           Desc Main
                                 Document      Page 5 of 5



Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA
30363




18453072v1
